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Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

BOARD OF TROSTEES OF THE
KERN COUNTY ELECTRICAL
PENSION FUND, BOARD OF
TRUSTEES OF THE KERN COUNTY
BLECTRICAL WORKERS HEALTH
& WELFARE TRUST, AND BOARD
OF TRUSTEES OF THE KERN
COUNTY ELECTRICAL
JOURNEYMAN AND

APPRENTICE TRAINING TRUST,

Plaintiffs,
Vv.

CHRISTOPHER BURGONI, an
individual, and doing business as
ALPHA OMEGA ELECTRIC;
TADOC ENTERPRISES, INC, a
California corporation doing business
as ALPHA OMEGA ELECTRIC;
FULCE ENTERPRISES, INC., a
California corporation, and DOES 1
through 50, inclusive,

Defendants.

TO DEFENDANTS:

Case No. 08 CV-00498-LJO-JLT

NOTICE AND APPLICATION FOR
DEFAULT JUDGMENT BY COURT
AGAINST DEFENDANTS |.
CHRISTOPHER BURGONI AND
TADOC ENTERPRISES, INC.

Hearing Date: June 1, 2012

Time: 9:00 am

Courtroom: SuiteA
Judge: Hon. Jennifer Thurston

Complaint Filed: April 10, 2008 .

PLEASE TAKE NOTICE that on June 1, 2012 at 9:00 a.m. or soon
thereafter as this matter may be heard at the above-entitled Court, located at 1300
18" Street, Suite A, Bakersfield, California 93301, by the Honorable Jennifer

EED/cl/1155.15(L).wpd

Notice and Application For Default Judgment By Court

Case No. 08 CV-00498-LJO-JLT

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Thurston, United States Magistrate Judge, presiding; Plaintiffs will present their
Application for Default Judgment against Defendants CHRISTOPHER BURGONI,
an individual and doing business as Alpha Omega Electric, and TADOC
ENTERPRISES, INC., a California corporation doing business as Alpha Omega
Electric. The Clerk entered the default of said Defendant on December 21, 2011.

This application is based on the Notice herein, the Memorandum of Points -
and Authorities, Declarations of Billie Hanner , Michael Surowitz, and Erin Davis
filed concurrently herewith, and the pleadings, files and other matters that may be
presented at hearing.

At the time and place of hearing, Plaintiffs will present proof of the following
matters:

1, Defendants are not infants or incompetent persons or in military service
or otherwise exempted under the Soldiers’ and Sailors’ Civil Relief Act of 1940.

2. Though Defendants have appeared in this action, their _
responsive pleadings have been stricken. - .

3. Plaintiffs served the Notice of this Application for Default Judgment
on Defendants as shown on the Declarations of Service attached hereto.

4. . Plaintiffs are entitled to a judgment against Burgoni on account of the
claims pleaded in the Complaint, to wit, Defendant Burgoni expressly assumed all
obligations arising from his Collective Bargaining Agreement, which incorporates
the terms and provisions of the Declarations of Trust for each of the Trust Funds
(collectively, the “A oreements”). By these Agreements, Burgoni is required to —
submit monthly reports and pay to each of the Plaintiffs certain sums per hour for
each hour paid and/or worked during each month by electrical workers or non-
bargained employees employed by Burgoni (the “Contributions”). Burgoni failed
to make timely contributions in the amounts required by the Agreements, and also

violated the Agreements by hiring non-signatory subcontractors to perform work,

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Notice and Application For Default Judgment By Court Case No, 08 CV-00498-LJO-JLT

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to avoid Burgoni’s responsibilities under the Agreements. As such, Burgoni is in
violation of Section 515 of the Employee Retirement Income Security Act of 1974
(ERISA) as amended (29 U.S.C. § 1145) and Plaintiffs are entitled to the
contributions, liquidated damages, interest, attorney’s fees and costs from Burgoni
pursuant to said Agreements and ERISA section 502(g) (29 U.S.C. § 1132(g)).
5. Plaintiffs are entitled to a judgment against Tadoc Enterprises on

account of the claims pleaded in the Complaint, to wit, Tadoc Enterprises operated
under the ownership and control of Defendant Burgoni as Alpha Omega Electric,
and per the terms of the Agreement, became bound to all obligations contained
therein, including the obligation to submit monthly reports and pay to each of the
Plaintiffs certain sums per hour for each hour paid and/or worked during each
month by electrical workers or non-bargained employees employed by Burgoni (the
“Contributions”. Tadoc Enterprises failed to make timely contributions in the
amounts required by the Agreements, and as a result, is in violation of Section 515
of the Employee Retirement Income Security Act of 1974 (ERISA) as amended (29
U.S.C. § 1145) and Plaintiffs are entitled to the contributions, liquidated damages,
interest, attorney’s fees and costs from Tadoc Enterprises pursuant to said
Agreements and ERISA section 502(g) (29 U.S.C. § 1132(g)).

6. As set forth in the declaration of Michael Surowitz, the amount of
known principal sought is $264,287.63, which consists of $240,261.48 in unpaid
contributions, and $24,026.15 in liquidated damages.

7. As set forth in the Declaration of Michael Surowitz, the amount
of audit fees sought is $3,358.47. .

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Notice and Application For Default Judgment By Court Case No. 08 CV-00498-LJO-JLT

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8. As set forth in the Declaration of Erin Davis, the amount of

jjattorney’s fees sought is $38,327.51, and the amount of costs sought is $2,546.75

pursuant to ERISA section 502(g) (29 U.S.C. § 1132(g)).

9. Therefore, the amount of judgment sought is as follows:
Principal oo. cee $264,287.63
Attorney's Fees. occ cc ccc cee $38,327.51
COSIS oe ccc een eee $2,546.75
Audit F@@S ooo ccc ene vee 3,358.47
Judgment . voce vccvccvecnece ves $308,520.36
DATED: April _26_, 2012 MELISSA W. COOK & ASSOCIATES

By:/s/Erin E. Davis
Melissa W. Cook
Erin E. Davis
Attorneys for Plaintiffs

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Notice and Application For Default Judgment By Court Case No. 08 CV-00498-L] O-JLT

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PROOF OF SERVICE

I, the undersigned, declare that I am employed in the County of San Diego, State of
California; I am over the age of eighteen years and am not a party to this action; my business
address is 3444 Camino del Rio North, Suite 106, San Diego, California 92108; I am employed
in the office of a member of the bar of this Court at whose direction I served a copy, including
all exhibits, if any, on April 771_, 2012, of the following document(s):

1. Notice and Application for Default Judgment by Court Against Defendants Christopher

Burgoni and Tatoc Enterprises, Inc.

2. Memorandum of Points and Authorities in Support of Plaintiffs’ Application for Default

Judgment by Court Against Defendants Christopher Burgoni and Tadoc Enterprises, Inc.

;: Declaration of Billie Hanner in Support of Plaintiffs’ Application for Default Judgment
y Court

4, Declaration of Michael Surowitz in Support of Plaintiffs’ Application for Default

Judgment by Court :

. Declaration of Erin E. Davis in Support of Plaintiffs’ Application for Default Judgment
y Court

6. [Proposed] Order Granting Plaintiffs’ AP lication for Default Judgment by Court

Against Defendants Christopher Burgoni and Tadoc Enterprises, Inc.

7, [Proposed] Default Judgment by Court Against Defendants Christopher Burgoni and

Tadoc Enterprises, Inc. ,

by Placing a true copy thereof in an envelope addressed to the person(s) named below at the
addresses(es) shown:

Tadoc Enterprises, Inc. Christopher Burgoni Neil Fulce

dba Alpha Omega Electrical 4912 McCloud Court Fulce Enterprises, Inc.

5080 California Ave., #200 Bakersfield, CA 93308 231 Bloomfield Drive

Bakersfield, CA 93309 Bakersfield, CA 93312

Tadoc Enterprises, Inc.

dba Alpha Omega Electrical
231 Bloomfield Drive
Bakersfield, CA 93312

[X] By United States mail: I placed a true copy in a sealed envelope or package addressed
to the person(s) at the address(es) indicated above on the above-mentioned date and
laced the envelope for collection and mailing, following our ordinary business practices.
am readily familiar with the business’s practice for collecting and processing
correspondence for mailing. On the same day that correspondence is placed for
collection and mailing, it is eposited in the ordinary course of business with the United

States Postal Service, in a sealed envelope with postage fully prepaid.

(] By Facsimile: From facsimile machine telephone number (619) 280-4304, on the above-
mentioned date, I served a full and complete copy of the above-referenced document(s)
by facsimile transmission to the person(s) at the number(s) indicated.

[] By Next Day Mail: I placed a true copy in a sealed envelope addressed as indicated
above on the above-mentioned date. I am readily familiar with this firm’s practice of
collection and processing of correspondence for delivery by next day mail. Pursuant to
that practice, envelopes placed for collection at designated locations during designated
hours with a fully completed airbill under which all delivery charges are paid by this firm
that same day in the ordinary course of business.

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Proof of Service Case No. 08-CV-00498-LJO JLT

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f By Electronically Serving Using CM/ECF System: I have caused the above-
mentioned document(s) to be electronically served using CM/ECF system which will
send notification of such filing to the following email address(es):

[X] I caused the above-mentioned document(s) to be electronically filed.

I hereby certify under the penalty of perjury that the foregoing is true and correct.

Executed on April Lv" , 2012, at San Diego, California. 4
Courtney Logan () “A

-7.
Proof of Service Case No. 08-CV-00498-LJO JLT

